          Case 3:14-cv-00713-MPS Document 1 Filed 05/16/14 Page 1 of 14




                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF CONNECTICUT

BANK OF AMERICA, N.A,                        )
                                             )
                     Plaintiff,              )
v.                                           )
                                             ) CIVIL ACTION
STEPHANIE PROPERTIES, LLC,                   ) FILE NO. __________
REGO CORPORATION, JOSE                       )
REATEGUI, PILAR REATEGUI AND                 )
LUIS REATEGUI,                               )
                                             )
                     Defendants.             )
                                             )
                                             )
                                             )
                                             )

                              VERIFIED COMPLAINT

         Plaintiff Bank of America, N.A. (“Bank of America” or “Plaintiff”), files

this Verified Complaint against Defendants Stephanie Properties, LLC (“Stephanie

Properties”or “Borrower”), Rego Corporation, Jose Reategui, Pilar Reategui and

Luis Reategui (collectively “Guarantors” and together with Stephanie Properties

sometimes collectively hereinafter, “Defendants”) and shows the Court as follows:

         1.   The subject matter of this action is a $5,340,000 loan made by Bank of

America to Stephanie Properties on or about July 18, 2005 (the “Loan”), secured

by several apartment buildings in Hartford, Connecticut more particularly

described in the Mortgage identified below (the “Property”).



725390
          Case 3:14-cv-00713-MPS Document 1 Filed 05/16/14 Page 2 of 14




                                       PARTIES

        2.     Plaintiff is a national banking association organized and existing under

and by virtue of the laws of the United States of America, with a business address

at 100 North Tryon Street, Charlotte, North Carolina 28255.

        3.     Defendant Stephanie Properties is a limited liability company

organized and existing under and by virtue of the laws of the State of Connecticut,

with its principal place of business at 15 Webster Street, Hartford, Connecticut

06114. The causes of action herein arise out of and in connection with the Loan to

Borrower from Bank of America.

        4.     The equity members of Borrower are Defendants Jose Reategui, Pilar

Reategui and Luis Reategui.

        5.     Defendant Jose Reategui is a citizen of Connecticut.

        6.     Defendant Pilar Reategui is a citizen of Connecticut.

        7.     Defendant Luis Reategui is a citizen of Connecticut.

        8.     Defendant Rego Corporation (“Rego”) is a corporation organized and

existing under and by virtue of the laws of the State of Connecticut, with its

principal place of business at 15 Webster Street, Hartford, Connecticut 06114.

                            VENUE AND JURISDICTION

        9.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §

1332(a), because there is complete diversity of citizenship between Bank of


                                           -2-
LEGAL02/34829498v3
          Case 3:14-cv-00713-MPS Document 1 Filed 05/16/14 Page 3 of 14




America and Defendants, and because the amount in controversy exceeds $75,000,

exclusive of interest and costs.

        10. Defendant Stephanie Properties is subject to the personal jurisdiction

of this Court because it is organized and exists under the laws of the State of

Connecticut.

        11. Defendants Jose Reategui, Pilar Reategui, and Luis Reategui are

subject to the personal jurisdiction of this Court because they are citizens of, and

reside in, the State of Connecticut.

        12. Defendant Rego is subject to the personal jurisdiction of this Court

because it is organized and exists under the laws of the State of Connecticut.

        13. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a) because

at least one Defendant resides in this District and a substantial part of the events or

omissions giving rise to the claim occurred in this District.

                           FACTUAL BACKGROUND

                                   Loan Documents

        14. The Loan was evidenced by, among other things, a promissory note

dated as of July 18, 2005 (the “Note”).

        15. Bank of America has been and remains the owner and holder of the

Note.

        16. A true and accurate copy of the Note is attached hereto as Exhibit A.


                                          -3-
LEGAL02/34829498v3
          Case 3:14-cv-00713-MPS Document 1 Filed 05/16/14 Page 4 of 14




        17. In addition, Borrowers executed in Bank of America’s favor a Term

Loan Agreement dated as of July 18, 2005 (the “Loan Agreement”).

        18. A true and accurate copy of the Loan Agreement is attached hereto as

Exhibit B.

        19. On or about July 18, 2005, in order to secure the payment of the

principal sum set forth in the Note and the interest thereon and the other

obligations arising under the Loan Agreement, Borrower, as mortgagor, executed,

acknowledged and delivered to Bank of America, as mortgagee, an Open End

Mortgage Deed, Assignment of Leases and Rents, Security Agreement and Fixture

Filing (the “Mortgage”), wherein and whereby Borrower, as Mortgagor, granted to

Bank of America, as Mortgagee, a security interest in Borrower’s right, title and

interest in and to the Property, as described in Exhibit A to the Mortgage.

        20. A true and correct copy of the Mortgage is attached hereto as Exhibit

C.

        21. On or about July 21, 2005, the Mortgage was duly recorded in the

Hartford land records in Volume 5381, Page 326.

        22. On or about July 18, 2005, Borrower, as assignor, duly executed,

acknowledged and delivered to Bank of America, a Collateral Assignment of

Leases, Rentals and Property Income (the “Assignment of Leases and Rents”),

wherein and whereby Borrower transferred, sold, assigned, granted and conveyed


                                        -4-
LEGAL02/34829498v3
          Case 3:14-cv-00713-MPS Document 1 Filed 05/16/14 Page 5 of 14




to Bank of America, among other things, any and all leases relating to the Property,

as well as any and all rents, incomes, profits, security deposits and other benefits

which the Borrower may be entitled from the leases, the Property or the income

generated from the business operations conducted at the Property, as further

security for the payment and performance of its obligations under the Note and the

Loan Agreement.

        23. A true and accurate copy of the Assignment of Leases and Rents is

attached hereto as Exhibit D.

        24. On or about July 21, 2005, the Assignment of Leases and Rents was

duly recorded in the Hartford land records in Volume 5382, Page 1.

        25. In order to further secure Borrower’s obligations to Bank of America,

on or about July 18, 2005, (i) Rego Corporation, by and through Jose Reategui, (ii)

Jose Reategui, individually, (iii) Pilar Reategui, individually, and (iv) Luis

Reategui, individually, as guarantors (collectively “Guarantors”), duly executed,

acknowledged and delivered to Bank of America a Guaranty Agreement (the

“Guaranty”) (collectively with the Note, Loan Agreement, Mortgage, and

Assignment of Leases and Rents and all other documents evidencing the Loan, the

“Original Loan Documents”).

        26. A true and correct copy of the Guaranty, which Guaranty includes the

prejudgment remedy notice waiver pursuant to Title 903a of the Connecticut


                                        -5-
LEGAL02/34829498v3
          Case 3:14-cv-00713-MPS Document 1 Filed 05/16/14 Page 6 of 14




General Statutes is attached hereto as Exhibit E with the same force and effect as if

set forth at length herein.

        27. On or about July 19, 2010, Borrower, Guarantors and Bank of America

executed a First Loan Document Modification Agreement (the “First

Modification”), modifying certain obligations under the Loan Documents,

including, without limitation, extending the maturity date of the Loan from July 19,

2010 to January 19, 2011.

        28. A true and correct copy of the First Modification is attached hereto as

Exhibit F.

        29. On or about January 19, 2011, Borrower, Guarantors and Bank of

America executed a Second Loan Document Modification Agreement (the

“Second       Modification”)   (collectively    with   the   First   Modification,   the

“Modifications”), modifying certain obligations under the Loan Documents,

including, without limitation, extending the maturity date of the Loan, as modified,

from January 19, 2011 to January 19, 2014.

        30. A true and correct copy of the Second Modification is attached hereto

as Exhibit G. The Original Loan Documents and Modifications, are hereinafter

referred to collectively as the “Loan Documents.”




                                          -6-
LEGAL02/34829498v3
          Case 3:14-cv-00713-MPS Document 1 Filed 05/16/14 Page 7 of 14




                           Borrower’s Events of Default

        31. Pursuant to the Note, as modified by the Modifications, Borrower was

required to pay the Loan in full on January 19, 2014 (the “Maturity Date”).

        32. Borrower failed to pay the Loan in full on the Maturity Date (the

“Maturity Default”).

        33. The Maturity Default constitutes an Event of Default under Section 6.1

of the Loan Agreement, as modified by the Modifications. See Loan Agreement,

Exhibit B, § 6.1.

        34. In a letter dated March 26, 2014, Bank of America, through its counsel,

provided notice to Borrower and Guarantors of the Maturity Default (the “Default

Letter”).

        35. A true and correct copy of the Default Letter is attached hereto as

Exhibit H.

        36. In the Default Letter, Plaintiff demanded from the Borrower and

Guarantors payment in full of all sums due under the Loan Documents (the

“Outstanding Indebtedness”).

        37. As of May 12, 2014, the Outstanding Indebtedness included principal

in the amount of $4,495,986.34 and accrued interest of $85,607.95, exclusive of

other contractual fees, costs and expenses, attorneys’ fees, and court costs.




                                         -7-
LEGAL02/34829498v3
          Case 3:14-cv-00713-MPS Document 1 Filed 05/16/14 Page 8 of 14




        38. To date, the Borrower and Guarantors have failed to pay in full the

Outstanding Indebtedness, and, thus, remain in default pursuant to the terms of the

Loan Documents.

                          COUNT I – Breach of Contract
                           (Stephanie Properties, LLC)

        39. Plaintiff restates and re-alleges the allegations contained in paragraphs

1-38 of this Verified Complaint as if fully set forth herein.

        40. An Event of Default exists under the Loan Documents, as a result of

the Maturity Default.

        41. Bank of America provided Borrower with notice of the Event of

Default and demanded the full and immediate payment of the Outstanding

Indebtedness through the Default Letter.

        42. Despite having notice of the Event of Default, Borrower has failed to

pay Bank of America the Outstanding Indebtedness.

        43. Borrower’s failure to pay the Outstanding Indebtedness constitutes a

breach of the Loan Documents.

        44. As a proximate cause of Borrower’s breach of the Loan Documents,

Bank of America has suffered damages.




                                         -8-
LEGAL02/34829498v3
          Case 3:14-cv-00713-MPS Document 1 Filed 05/16/14 Page 9 of 14




                         COUNT II – Breach of Contract
                                (Guarantors)

        45. Bank of America incorporates the allegations in Paragraphs 1 through

44 of the Verified Complaint as if set forth fully herein.

        46. Through     the   Guaranty,    the   Guarantors   “unconditionally   and

irrevocably” agreed to make “prompt and full payment” “when due” of Borrower’s

indebtedness under the Loan Documents. See Guaranty, Exhibit E, p. 1.

        47. Bank of America provided the Guarantors with notice of the Event of

Default and demanded the full and immediate payment of the Outstanding

Indebtedness through the Default Letter.

        48. Despite having notice of the Event of Default, the Guarantors have

failed to pay Bank of America the Outstanding Indebtedness.

        49. The Guarantors’ failure to pay the Outstanding Indebtedness

constitutes a breach of the Guaranty.

        50. Guarantors are individually and collectively, jointly and severally,

liable to Plaintiff for the Outstanding Indebtedness pursuant to the terms of the

Guaranty.

        51. As a proximate cause of the Guarantors’ breach of the Guaranty, Bank

of America has suffered damages.




                                          -9-
LEGAL02/34829498v3
         Case 3:14-cv-00713-MPS Document 1 Filed 05/16/14 Page 10 of 14




                              COUNT III – Attorneys’ Fees
                                  (All Defendants)

        52. Bank of America incorporates the allegations in Paragraphs 1 through

51 of the Verified Complaint as if set forth fully herein.

        53. Borrower agreed through the Note and Loan Agreement, as modified

by the Modifications, to pay Bank of America all reasonable attorneys’ fees as well

as all other costs and expenses incurred to collect the Outstanding Indebtedness.

See Note, Exhibit A, § 10; See Loan Agreement, Exhibit B, § 4.15.

        54. Guarantors agreed through the Guaranty to pay Bank of America all

reasonable attorneys’ fees as well as all other costs and expenses incurred to

enforce the Guaranty. See Guaranty, Exhibit E, § 11.

        55. As a result of Defendants’ breaches of the Loan Documents, Bank of

America has retained counsel to pursue the Outstanding Indebtedness.

        56. Bank of America is entitled to judgment in its favor, and against

Defendants, for its reasonable attorneys’ fees pursuant to the Loan Documents.

                                PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully prays that the Court grant the

following relief:

                a) That Plaintiff have and obtain a judgment in its favor and against

                     Borrower for damages in the amount of $4,581,594.29;



                                           - 10 -
LEGAL02/34829498v3
         Case 3:14-cv-00713-MPS Document 1 Filed 05/16/14 Page 11 of 14




                b) That Plaintiff have and obtain a judgment in its favor and against

                     each of the Guarantors for damages in the amount of

                     $4,581,594.29;

                c) That Plaintiff have and obtain from Borrower and Guarantors its

                     costs of litigation and expenses incurred in obtaining the amounts

                     currently due under the Loan Documents, including attorneys’

                     fees;

                d) That Plaintiff have and obtain from Borrower and Guarantors all

                     pre-judgment and post-judgment interest; and

                e) That Plaintiff have and obtain such other and further relief as this

                     Court deems just, equitable and proper.

        Respectfully submitted this 16th day of May, 2014.

                                           PLAINTIFF,
                                           BANK OF AMERICA, N.A.

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                                            - 11 -
LEGAL02/34829498v3
         Case 3:14-cv-00713-MPS Document 1 Filed 05/16/14 Page 12 of 14




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                                     - 12 -
LEGAL02/34829498v3
        Case 3:14-cv-00713-MPS Document 1 Filed 05/16/14 Page 13 of 14




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                 FOR THE DISTRICT OF CONNECTICUT

BANK OF AMERICA,N.A,                        )

                   Plaintiff,               )
v.                                          )
                                              CIVIL ACTION
STEPHANIE PROPERTIES,LLC,                   )FILE NO.
REGO CORPORATION,JOSE                       )
REATEGUI,PILAR REATEGUI AND                 )
LUIS REATEGUI,                              )

                   Defendants.              )




                                 VERIFICATION

      Personally appeared before me, the undersigned officer, duly authorized to

administer oaths, Gregory P. Larsen, who, having been duly sworn, deposes and

states that he is a Vice President of Bank of America, N.A.("Bank of America"),

and as such, is authorized to make this Verification on Bank of America's behalf,

and that he has personal knowledge of the facts set forth in this Verified

Complaint, and that such facts are true and correct.
       Case 3:14-cv-00713-MPS Document 1 Filed 05/16/14 Page 14 of 14




Sworn to and subscribed before me
this '~ day of May,2014.



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                                    L'--,

 of    Public

My Commission Expires: ~?-~~ -~'U/~



                 "OFFICIAL SEAL"
                 ANGELq C ROCHA
              Notary public -
                              State
        My Commission Expire$ of Illinois
                                 Februa 23. 2016
